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                                                                               FILED
                                                                          JAMES J. VILT, JR. - CLERK
                            UNITED STATES DISTRICT COURT                           MAY - 6 2025
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE                           U.S. DISTRICT COURT
                                                                           WEST'N. DIST. KENTUCKY
UNITED STATES OF AMERICA

                                                               INDICTMENT
 V.
                                                        NO. g ;~-5' C-K-         'V2- OJ~
                                                             18 U.S.C. § 2
JAMES HAVLICHECK, JR. (Counts 1, 2)                          18 U.S.C. § 922(g)(l)
RODNEY HOLLIE (Count 1)                                      18 U.S.C. § 924(a)(8)
JOSEPH NGUYEN (Count 1)                                      18 U.S.C. § 924(c)(l)(A)
MINH NGO (Counts 1, 2)                                       18 U.S.C. § 924(d)
KEVIN NGUYEN (Count 1)                                       18 U.S.C. § 933(a)(l)
JOHNATHAN NGUYEN (Count 1)                                   18 U.S.C. § 933(b)
ORDELL SMITH, JR. (Counts 3-5, 16)                           21 U.S.C. § 841(a)(l)
VANRAY O'NEAL (Counts 6-8, 11 , 12)                          21 U.S.C. § 84l(b)(l)(A)
DARREN RENDER (Counts 8-10, 12-15, 17-23)                    21 U.S.C. § 841(b)(l)(B)
                                                             21 U.S.C. § 841(b)(l)(C)
                                                             21 U.S.C. § 846
                                                             21 u.s.c. § 853
                                                             28 U.S.C. § 2461


The Grand Jmy charges:

                                          COUNTl
            (Conspiracy to Possess with Intent to Distribute Controlled Substances)

       Beginning on a date unknown, but at least as early as April 2024, and continuing up to and

through on or about July 19, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, JAMES HAVLICHECK, JR., RODNEY HOLLIE, JOSEPH

NGUYEN, MINH NGO, KEVIN NGUYEN, and JOHNATHAN NGUYEN, knowingly and

intentionally conspired with each other and others, known and unknown to the Grand Jury, to

possess with intent to distribute controlled substances, to include 50 grams or more of
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methamphetamine, a Schedule II controlled substance as defined in Title 21, United States Code,

Section 812.

       In violation of Title 21, United States Code, Sections 841 (a)(l ), 841 (b)(1 )(A), and 846.



The Grand Jury further charges:

                                            COUNT2
                               (Distribution ofMethamphetamine)

       On or about July 18, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, JAMES HAVLICHECK, JR. and MINH NGO, aided and abetted by

each other and others, known and unknown to the Grand Jury, knowingly and intentionally

distributed 50 grams or more of methamphetamine, a Schedule II controlled substance as defined

in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 84 l(b)(1 )(A), and Title

18, United States Code, Section 2.



The Grand Jury further charges:

                                            COUNT3
                               (Distribution ofMethamphetamine)

       On or about August 6, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ORDELL SMITH, JR., knowingly and intentionally distributed 50

grams or more of methamphetamine, a Schedule II controlled substance as defined in Title 21,

United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(A).




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The Grand Jury further charges:

                                           COUNT4
                              (Distribution ofMethamphetamine)

       On or about August 14, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ORDELL SMITH, JR., knowingly and intentionally distributed 50

grams or more of methamphetamine, a Schedule II controlled substance as defined in Title 21,

United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(A).



The Grand Jury further charges:

                                           COUNTS
                              (Distribution ofMethamphetamine)

       On or about August 27, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ORDELL SMITH, JR., knowingly and intentionally distributed 50

grams or more of methamphetamine, a Schedule II controlled substance as defined in Title 21,

United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(A).



The Grand Jury fmiher charges:

                                           COUNT6
                              (Distribution ofMethamphetamine)

       On or about September 30, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, VANRAY O'NEAL, knowingly and intentionally distributed 50 grams




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or more of methamphetamine, a Schedule II controlled substance as defined in Title 21, United

States Code, Section 812.

       In violation of Title 21, United States Code, Sections 84 l(a)(l) and 84 l(b)(l)(A).



The Grand Jury further charges:

                                             COUNT7
                                (Distribution ofMethamphetamine)

       On or about October 2, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, V ANRAY O'NEAL, knowingly and intentionally distributed 50 grams

or more of methamphetamine, a Schedule II controlled substance as defined in Title 21, United

States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).



The Grand Jury further charges:

                                             COUNTS
                                       (Firearms Trafficking)

       On or about October 2, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, DARREN RENDER and VANRAY O'NEAL, aided and abetted by

each other, did ship, transport, transfer, cause to be transported, or otherwise dispose of a firearm,

to wit a KelTec, model SUB-2000, 9 millimeter rifle, bearing serial number FFSS36, to another

person in or otherwise affecting commerce, knowing or having reasonable cause to believe that

the use, carrying, or possession of the firearm by the person would constitute a felony.

       In violation of Title 18, United States Code, Sections 2, 933(a)(l), and 933(b).




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The Grand Jury further charges:

                                          COUNT9
                       (Possession ofa Firearm by a Prohibited Person)

       On or about October 2, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly possessed, in and affecting commerce,

a KelTec, model SUB-2000, 9 millimeter rifle, bearing serial number FFSS36, and ammunition,

with knowledge that he had previously been convicted in a court of a crime punishable by

imprisonment for a term exceeding one year, to wit:


       On or about April 2, 2020, in the United States District Court for the Western
       District of Kentucky, in Case Number 3:18-CR-142, DARREN RENDER, was
       convicted of the offense of Possession of a Firearm by a Prohibited Person.
       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



The Grand Jury further charges:
                                           COUNT IO
                                    (Distribution ofFentanyV

       On or about October 2, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly and intentionally distributed a mixture

and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).




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The Grand Jury further charges:

                                            COUNT 11
                                (Distribution ofMethamphetamine)

       On or about October 7, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, VANRAY O'NEAL, knowingly and intentionally distributed 50 grams

or more of methamphetamine, a Schedule II controlled substance as defined in Title 21, United

States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(A).



The Grand Jury further charges:

                                            COUNT12
                                       (Firearms Trafficking)

       On or about October 8, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendants, DARREN RENDER and VANRAY O'NEAL, aided and abetted by

each other, did ship, transport, transfer, cause to be transported, or otherwise dispose of a firearm,

to wit a DPMS Inc., model DA-15, 5.56 rifle, bearing serial number F086458K, to another person

in or otherwise affecting commerce, knowing or having reasonable cause to believe that the use,

carrying, or possession of the firearm by the person would constitute a felony.

       In violation of Title 18, United States Code, Sections 2, 933(a)(l), and 933(b).



The Grand Jury further charges:

                                          COUNT 13
                        (Possession ofa Firearm by a Prohibited Person)

       On or about October 8, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly possessed, in and affecting commerce,



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a DPMS Inc., model DA-15, 5.56 rifle, bearing serial number F086458K, and ammunition, with

knowledge that he had previously been convicted in a court of a crime punishable by imprisonment

for a term exceeding one year, to wit:

       On or about April 2, 2020, in the United States District Court for the Western
       District of Kentucky, in Case Number 3:18-CR-142, DARREN RENDER, was
       convicted of the offense of Possession of a Firearm by a Prohibited Person.
       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



The Grand Jury further charges:
                                           COUNT14
                                    (Distribution ofFentanyl)

       On or about October 8, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly and intentionally distributed a mixture

and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).



The Grand Jury further charges:

                                          COUNT 15
                  (Possession of a Firearm in Furtherance ofDrug Trafficking)

       On or about October 8, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly possessed a firearm in furtherance of

a drug trafficking crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).




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The Grand Jury further charges:

                                           COUNT16
                               (Distribution ofMethamphetamine)

       On or about October 24, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, ORDELL SMITH, JR., knowingly and intentionally distributed 50

grams or more of methamphetamine, a Schedule II controlled substance as defined in Title 21,

United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).



The Grand Jury fu1ther charges:

                                          COUNT17
                                     (Firearms Trafficking)

       On or about November 11, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, did ship, transport, transfer, cause to be

transported, or otherwise dispose of a firearm, to wit a Ruger, model Ruger-57, 5.7 millimeter

pistol, bearing serial number 643-24922, to another person in or otherwise affecting commerce,

knowing or having reasonable cause to believe that the use, carrying, or possession of the firearm

by the person would constitute a felony.

       In violation of Title 18, United States Code, Sections 933(a)(l) and 933(b).



The Grand Jury further charges:

                                         COUNT 18
                       (Possession ofa Firearm by a Prohibited Person)

       On or about November 11, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly possessed, in and affecting commerce,



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a Ruger, model Ruger-57, 5.7 millimeter pistol, bearing serial number 643-24922, and

ammunition, with knowledge that he had previously been convicted in a court of a crime

punishable by imprisonment for a tenn exceeding one year, to wit:

       On or about April 2, 2020, in the United States District Court for the Western
       District of Kentucky, in Case Number 3:18-CR-142, DARREN RENDER, was
       convicted of the offense of Possession of a Firearm by a Prohibited Person.
       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



The Grand Jury further charges:
                                           COUNT19
                                    (Distribution ofFentanyl)

       On or about November 11, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly and intentionally distributed a mixture

and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly known as "fentanyl," a Schedule II controlled substance as defined in

Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(C).



The Grand Jury further charges:

                                        COUNT20
                 (Possession ofa Firearm in Furtherance ofDrug Trafficking)

       On or about November 11, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly possessed a fireaim in furtherance of

a drug trafficking crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).




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The Grand Jury further charges:

                                          COUNT21
                                     (Firearms Trafficking)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, did ship, transport, transfer, cause to be

transported, or otherwise dispose of a firearm, to wit a Radical Firearms LLC, model RF-15, multi-

caliber pistol, bearing serial number 23-034814, to another person in or otherwise affecting

commerce, knowing or having reasonable cause to believe that the use, carrying, or possession of

the firearm by the person would constitute a felony.

       In violation of Title 18, United States Code, Sections 933(a)(l) and 933(b).



The Grand Jury further charges:

                                          COUNT22
                        (Possession ofa Firearm by a Prohibited Person)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly possessed, in and affecting commerce,

a Radical Firearms LLC, model RF-15, multi-caliber pistol, bearing serial number 23-034814, and

ammunition, with knowledge that he had previously been convicted in a court of a crime

punishable by imprisonment for a term exceeding one year, to wit:


       On or about April 2, 2020, in United States District Court for the Western District
       of Kentucky, in Case Number 3:18-CR-142, DARREN RENDER, was convicted
       of the offense of Possession of a Firearm by a Prohibited Person.
       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).




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The Grand Jury further charges:
                                           COUNT23
                                     (Distribution ofHeroin)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, DARREN RENDER, knowingly and intentionally distributed a mixture

or substance containing a detectable amount of heroin, a Schedule I controlled substance as defined

in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(C).



                                  NOTICE OF FORFEITURE

       As a result of committing offenses in violation of Title 21, United States Code, Sections

84l(a)(l), 84l(b)(l) and 846, as specifically charged in this Indictment, felonies punishable by

imprisonment for more than one year, the defendants, JAMES HAVLICHECK, JR., RODNEY

HOLLIE, JOSEPH NGUYEN, KEVIN NGUYEN, JOHNATHAN NGUYEN, MINH NGO,

ORDELL SMITH, JR., DARREN RENDER, and VANRAY O'NEAL, shall forfeit to the

United States, pursuant to Title 21, United States Code, Section 853, any property constituting, or

derived from, proceeds obtained, directly or indirectly, as a result of said violations and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of the said violations (including but not limited to all firearms and ammunition).

       As a result of committing offenses in violation of Title 18, United States Code, Sections

922(g)(l), 924(a)(8), 924(c)(l)(A), and 933, as specifically charged in this Indictment, the

defendant, DARREN RENDER, shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 924(d), and Title 28, United States Code, Section 2461, all firearms,

magazines, and ammunition involved in the commission of said offenses, including: Anderson



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Manufacturing, model AM-15 , multi-caliber rifle bearing serial number 21412534; a KelTec,

model SUB-2000, 9 millimeter rifle, bearing serial number FFSS36; aDPMS Inc., model DA-15,

5.56 rifle, bearing serial number F086458K; a Ruger, model Ruger-57, 5.7 millimeter pistol,

bearing serial number 643-24922; a Radical Firearms LLC, model RF-15 , multi-caliber pistol,

bearing serial number 23-034814; and assorted ammunition.

                                                        A TRUE BILL.




MICHAEL A. BENNETT
UNITED STATES ATTORNEY
MAB:APG :05 .06.2025




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UNITED STATES OF AMERICA v. JAMES HA VLICHECK, JR., ET AL.

                                                            PENALTIES

Counts 1, 2,          NL 10 yrs./NM Life/$10,000,000/both/NL 5yrs. Supervised Release (each count)
3, 4, 5, 6, 7,        (NL 15 yrs./NM Life/$20,000,000/both/NL l Oyrs./NM Life Supervised Release (with notice of one prior
11, 16:               conviction))(each count)
Count 6:              NL 5 yrs./NM 40 yrs./$5,000,000/both/NL 4yrs. Supervised Release
                      (NL 10 yrs./NM Life/$8,000,000/both/NL 8 yrs./NM Life Supervised Release with notice of one prior conviction)
Counts 8, 9,          NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release (each count)
12, 13, 17,
18, 20, 21, 22:
Count 10, 11,         NM 20 yrs./$1,000,000/both/NL 3yrs. Supervised Release (each count)
14, 19,21,23:         (NM 30 yrs./$2,000,000/both/NL 6 yrs. Supervised Release with notice of one prior conviction)(each count)
Counts 15, 20:        NL 5 years consecutive/$250,000/both/NM 5 yrs. Supervised Release (each count)
FORFEITURE

                                                               NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.


SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

            Misdemeanor:           $ 25 per count/individual              Felony:          $100 per count/individual
                                   $125 per count/other                                    $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pav fine as ordered may subject you to the following:

            1.    INTEREST and PENALTIES as applicable by law according to last date of offense.

                      For offenses occurring after December 12. I 987:

                      No INTEREST will accrue on fines under $2,500.00.

                      INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                      the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                      following the two week period after the date a fine is imposed.

                      PENALTIES of:

                      10% of fine balance if payment more than 30 days late.

                      15% of fine balance if payment more than 90 days late.

            2.        Recordation of a LIEN shall have the same force and effect as a tax lien.

            3.        Continuous GARNISHMENT may apply until your fine is paid.

            18 U.S.C. §§ 3612, 3613

                      If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                      of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
                      IMPRISONMENT for not more than I year or both. 18 U.S.C. § 3615
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RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

           I.         That you deposit the entire fine amount (or the amount due under an installment schedule
                      during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.          Give bond for payment thereof.

           18   u.s.c. § 3572(g)
PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                      LOUISVILLE:                      Clerk, U.S. District Court
                                                       106 Gene Snyder U.S. Courthouse
                                                       601 West Broadway
                                                       Louisville, KY 40202
                                                       502/625-3500

                      BOWLING GREEN:                   Clerk, U.S. District Court
                                                       120 Federal Building
                                                       241 East Main Street
                                                       Bowling Green, KY 42101
                                                       270/393-2500

                      OWENSBORO:                       Clerk, U.S. District Court
                                                       126 Federal Building
                                                       423 Frederica
                                                       Owensboro, KY 4230 l
                                                       270/689-4400

                      PADUCAH:                         Clerk, U.S. District Court
                                                       127 Federal Building
                                                       501 Broadway
                                                       Paducah, KY 42001
                                                       270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
